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     EXHIBIT A
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Type of Work:        Text

Registration Number / Date:
                   TX0008603530 / 2018-07-13

Application Title: THE CABIN AT THE END OF THE WORLD.

Title:               THE CABIN AT THE END OF THE WORLD.

Description:         Book, 272 p.

Copyright Claimant:
                   Paul Tremblay.

Date of Creation:    2018

Date of Publication:
                   2018-06-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Paul Tremblay; Domicile: United States; Citizenship:
United
                      States. Authorship: text.

Names:               Tremblay, Paul

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Type of Work:        Text

Registration Number / Date:
                   TX0008264981 / 2016-04-18

Application Title: 13 WAYS OF LOOKING AT A FAT GIRL.

Title:               13 WAYS OF LOOKING AT A FAT GIRL.

Description:         Book, 214 p.

Copyright Claimant:
                   Mona Awad.

Date of Creation:    2015

Date of Publication:
                   2016-02-23

Nation of First Publication:
                   United States

Authorship on Application:
                   Mona Awad; Citizenship: Canada. Authorship: text
(excluding
                      previously published portions)

Alternative Title on Application:
                   THIRTEEN WAYS OF LOOKING AT A FAT GIRL

Pre-existing Material:
                   previously published text.

Basis of Claim:      text (excluding previously published portions)

Names:               Awad, Mona

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Type of Work:                  Text

Registration Number / Date: TX0008786456 / 2019-08-19

Application Title:             BUNNY.

Title:                         BUNNY.

Description:                   Book, 305 p.

Copyright Claimant:            Mona Awad.

Date of Creation:              2018

Date of Publication:           2019-06-11

Nation of First Publication: United States

Authorship on Application:     Mona Awad; Citizenship: United States.

Authorship: text.

Rights and Permissions:        Viking, c/o Penguin Random House LLC, 1745
                               Broadway, New York, NY, 10019, United States

ISBN:                          978-0-525-55973-3

Names:                         Awad, Mona

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